       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Kevin Lamont Lambert
       v. Commonwealth of Virginia
       Record No. 0773-18-2
       Opinion rendered by Judge Huff on
        October 15, 2019

    2. Jeffrey Scott Haas
        v. Commonwealth of Virginia
        Record No. 0621-18-2
        Opinion rendered by Chief Judge Decker on
        October 29, 2019

    3. Samuel Rudolph Joshua Raspberry
       v. Commonwealth of Virginia
       Record No. 0988-18-1
       Opinion rendered by Judge Humphreys on
        October 29, 2019

    4. Carlos Artur Alvarez Saucedo
       v. Commonwealth of Virginia
       Record No. 1440-18-3
       Opinion rendered by Judge O’Brien on
        October 29, 2019

    5. Antonio Concepcion Garibaldi
       v. Commonwealth of Virginia
       Record No. 0858-18-1
       Opinion rendered by Judge Humphreys on
        November 5, 2019

    6. Jacob Scott Goodwin
        v. Commonwealth of Virginia
        Record No. 1463-18-2
        Opinion rendered by Chief Judge Decker on
        November 12, 2019

    7. Alex Michael Ramos
       v. Commonwealth of Virginia
       Record No. 1595-18-2
       Opinion rendered by Judge Huff on
        November 12, 2019
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Andrew Lamont Spratley
   v. Commonwealth of Virginia
   Record No. 1715-17-4
   Opinion rendered by Judge O’Brien
    on October 9, 2018
   Judgment of Court of Appeals affirmed by opinion rendered on December 12, 2019
   (181452)

2. Kathryn Johnson, s/k/a
    Kathryn Eileen Johnson
   v. Commonwealth of Virginia
   Record No. 1478-17-2
   Opinion rendered by Judge Beales
    on March 5, 2019
   Refused (190428)
       The Supreme Court issued opinions in the following cases, which had been appealed from
this Court

    1. Dorothy Elizabeth Cilwa
       v. Commonwealth of Virginia
       Record No. 0687-15-4
       Memorandum opinion rendered by Chief Judge Decker on June 26, 2018
       Judgment of Court of Appeals affirmed by opinion rendered on December 12, 2019
       (180885)

    2. Timothy Josaahn Watson
       v. Commonwealth of Virginia
       Record No. 1375-17-1
       CAV petition for appeal denied by Judge Chafin on September 4, 2018
         and by Judges Beales, Russell and Senior Judge Frank on November 1, 2018
       Judgment of Court of Appeals affirmed by opinion rendered on December 12, 2019
       (181569)

    3. George Trevon Watson-Scott, a/k/a, etc.
       v. Commonwealth of Virginia
       Record No. 1538-17-2
       Memorandum opinion rendered by Judge Malveaux on December 4, 2018
       Judgment of Court of Appeals affirmed by opinion rendered on December 12, 2019
       (190016)
